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  DELBELLO DONNELLAN WEINGARTEN                            Hearing Date: November 17, 2015
  WISE & WIEDERKEHR, LLP                                   Hearing Time: 10:00 a.m.
  Attorneys for the Debtor
  One North Lexington Avenue
  White Plains, New York 10601
  (914) 681-0200
  Dawn Kirby, Esq.

  UNITED STATES BANKRUPTCY COURT
  SOUTHERN DISTRICT OF NEW YORK
  -----------------------------------------------------X
  In re:
                                                           Chapter 11
  FONTAINE PARTNERS LLC,                                   Case No. 15-10999 (shl)

                                               Debtor.
  -----------------------------------------------------X

                            DEBTOR’S MOTION FOR AN ORDER
                            DISMISSING THE CHAPTER 11 CASE


  TO:        THE HONORABLE SEAN H. LANE:
             UNITED STATES BANKRUPTCY JUDGE:


        1.         The above-captioned debtor and debtor-in-possession, Fontaine Partners

  LLC (the “Debtor”), by its attorneys DelBello Donnellan Weingarten Wise &

  Wiederkehr, LLP, as and for its application for an Order, pursuant to Section s 105, and

  1112(b) of Title 11 of the United States Code (the “Bankruptcy Code”), dismissing the

  Debtor’s Chapter 11 proceeding, respectfully represents as follows:

                                             BACKROUND

             1.    On April 20, 2015 (the “Petition Date”), the Debtor filed a voluntary

  petition for reorganization pursuant to Chapter 11 of the Bankruptcy Code. The Debtor

  has continued in possession of its assets and management of its affairs as a Debtor-in-

  possession pursuant to Sections 1107 and 1108 of the Bankruptcy Code. No examiner,
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  trustee or official creditors’ committee has been appointed in the Chapter 11 case.

      2.    The immediate cause of the chapter 11 filing was a pending civil law suit

  commenced by certain investors in three of the Debtor’s subsidiaries, Christopher J.

  Lacroix and Kathleen M. Lacroix, tenants in common, individually and derivatively on

  behalf of Fontaine Smart Energy Partners I LLC, Bruce J. Stone, individually and

  derivatively on behalf of Fontaine Smart Energy Partners I LLC, Trinity Investment

  Holdings, LLC, individually and derivatively on behalf of Fontaine Smart Energy

  Partners I LLC and Fontaine Smart Energy Partners II LLC, Wilson H. Madden, Jr.

  2009 Revocable Trust, dated May 8, 2009, individually and derivatively on behalf of

  Fontaine Smart Energy Partners II LLC, and Trophy Hunter Investments, Ltd.,

  individually and derivatively on behalf of Fontaine Smart Energy Partners III LLC,

  (“Plaintiffs”) v. Nicole E. Faucher (“Faucher”), Fontaine Capital LLC (“Capital”),

  Fontaine Managers LLC, (“Managers”),          Fontaine Partners LLC (the “Debtor”) ,

  Fontaine Smart Energy Partners I LLC (“FSEP I”), Fontaine Smart Energy Partners II

  LLC (“FSEP II”), and Fontaine Smart Energy Partners III LLC (“FSEP III”), Supreme

  Court, New York County, Index Number 653362/2014 (the “Civil Action”).

      3.    During the course of the chapter 11 case, the Civil Action was removed by the

  Debtor to the Southern District of New York, 15-CV-2664, and then referred to the

  Bankruptcy Court, Adv. Pro. No. 15-1113.

      4.    The Plaintiffs filed a motion requesting the Bankruptcy Court abstain from

  asserting jurisdiction and remand the Civil Action to state court. In connection with their

  motion, the Plaintiffs agreed to discontinue their claims against the Debtor without

  prejudice. The Bankruptcy Court granted the motion, and the case was remanded back to
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  the New York State Court pursuant to an order dated July 10, 2015, directing the

  Plaintiffs upon remand to file a stipulation of discontinuance with respect to any claims

  against the Debtor.

      5.    A lengthy mediation session was held on August 31, 2015, with Counsel for

  the Plaintiffs, Counsel for the Debtor, and Ms. Faucher all in attendance. The Honorable

  Sean H. Lane oversaw the process and was the mediator.

      6.    After the conclusion of mediation, the parties did not have a final agreement,

  but they did continue to discuss and attempt to reach a settlement.

      7.    The parties now believe they have substantially agreed on terms of settlement.

  A settlement agreement has not been executed by the parties as of the writing of this

  Motion, but the Debtor anticipates that a final settlement will be executed before the

  hearing date of this Motion.

      8.    In summary, the Plaintiffs have agreed to pay a sum to FSEP I, FSEP II and

  FSEP III to be paid to their legitimate creditors, which are Markum LLP, Gen II Fund

  Services, and Managers. FSEP I, FSEP II and FSEP III will cause each of the Plaintiffs

  to receive his or her proportionate share of Intelligent Energy stock that is held by each of

  the special purpose entities.

      9.    Unfortunately, this will not result in funds for creditors of the Debtor. In light

  of the resolution of the Civil Action, the futility in reorganizing the Debtor, and the

  complete lack of assets to fund any other payments, the Debtor seeks to stop incurring

  administrative expenses by dismissal of its chapter 11 case.

                                  BASIS FOR RELIEF SOUGHT

      10.   The Court is granted the authority to dismiss a Chapter 11 proceeding in Section
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  1112(b)(1) of the Bankruptcy Code which provides that the Court may dismiss a Chapter 11

  case provided that the movant establishes cause.

      11.     The Debtor asserts that cause exists and dismissal is appropriate because the

  Debtor is no longer operating, does not have any avoidance action or other claims, and there

  is no estate for a Chapter 7 Trustee to administer.

      12.     In light of the foregoing, no proceeds remain to fund a plan of reorganization or

  even a de minimus distribution.

      13.     The Debtor submits that a dismissal is in the best interests of the creditors in that

  if this proceeding remains in a Chapter 11, the only result will be increased administrative

  expenses and continuing attorney fee costs for the creditors to monitor the case.

                                          CONCLUSION

      14.     Based upon the foregoing, the Debtor respectfully submits that dismissal is both

  appropriate and warranted under Sections 105, and 1112(b) of the Bankruptcy Code.

      15.     No prior application for the relief requested herein has been made.

            WHEREFORE, the Debtor requests that the Court enter an Order dismissing the

  Debtor’s Chapter 11 proceeding, together with such other and further relief as is just and

  proper.

  Dated: White Plains, New York
         October 26, 2015
                                                 DELBELLO DONNELLAN WEINGARTEN
                                                 WISE & WIEDERKEHR, LLP
                                                  Attorneys for the Debtor

                                                        /s/ Dawn Kirby
                                                  BY:__________________________
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